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                     EXHIBIT 6
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To:                                                                                                                                                                                                                                       Bafford, Beth
Subject:                                                                                                                                                                                                                                  RE: National Clean Investment Fund Sub-Account




From: Rubin, Jesse
Sent: Monday, March 3, 2025 5:53 PM
To: Bafford, Beth
Subject: RE: National Clean Investment Fund Sub-Account

Hi Beth,

We are awaiting further guidance.

Thanks,
Jesse

From: [climateunited.org] Bafford, Beth
Sent: Monday, March 3, 2025 4:40 PM
To: Rubin, Jesse [SVCS]
Subject: RE: National Clean Investment Fund Sub-Account
Thanks so much Jesse – appreciate it. Can I infer from this that you’re only able to take direction from the US EPA at this point? Beth Bafford bbafford@ climateunited. org From: Rubin, Jesse <jesse. rubin@ citi. com> Sent: Monday,




Thanks so much Jesse – appreciate it. Can I infer from this that you’re only able to take direction from the
US EPA at this point?

Beth Bafford


From: Rubin, Jesse
Sent: Monday, March 3, 2025 4:33 PM
To: Bafford, Beth
Subject: RE: National Clean Investment Fund Sub-Account

Hi Beth,

Apologies if you didn’t receive a response. We have received your correspondence and have forwarded it to the United
States Environmental Protection Agency and other federal officials for an appropriate response. This is the same
message that has been provided to CPC. Once we have further information available regarding the program we can
provide at that time.

Regards,
Jesse

From: [climateunited.org] Bafford, Beth
Sent: Monday, March 3, 2025 2:03 PM
To: Rubin, Jesse [SVCS]
Subject: FW: National Clean Investment Fund Sub-Account

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Hi Jesse, I wanted to check in to see if you have a moment to connect. We have struggled to get any response from you all, despite the fact that you seem to be able to respond to our sub-grantees. Can you give me some window into what is happening




Hi Jesse,

I wanted to check in to see if you have a moment to connect. We have struggled to get any response from
you all, despite the fact that you seem to be able to respond to our sub-grantees. Can you give me some
window into what is happening and the process? My cell is                  if it is helpful to connect
directly.

Best,
Beth

Beth Bafford




From: Rubin, Jesse
Sent: Friday, February 28, 2025 8:23 AM
To: Andrea Gladstone
Cc: Mcintosh, Brent                                                                                                                                                                                                                                       ; Rafael Cestero                         ;

Subject: RE: National Clean Investment Fund Sub-Account


Dear Andrea:

We are in receipt of your correspondence and have forwarded it to the United States Environmental Protection
Agency and other federal officials for an appropriate response.

Best regards,
Jesse

From: [communityp.com] Andrea Gladstone
Sent: Monday, February 24, 2025 7:52 PM
To:                                  ; Rubin, Jesse [SVCS]
Cc: Mcintosh, Brent [GLAC]; Rafael Cestero;
Subject: National Clean Investment Fund Sub-Account
Please see attached correspondence from CPC Climate Capital with respect to the Account Control Agreement referenced therein. Thank you, Andrea Gladstone Andrea Gladstone Senior Vice President & General Counsel The Community Preservation




Please see attached correspondence from CPC Climate Capital with respect to the Account Control Agreement
referenced therein.

Thank you,
Andrea Gladstone




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                                                                Andrea Gladstone
                                                                Senior Vice President & General Counsel
                                                                The Community Preservation Corporation

                                                                220 East 42nd Street, 16th Floor
                                                                New York, NY 10017
                                                                Dir:              | Tel:
                                                                Fax:




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